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            EXHIBIT F
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          1     SUPREME                COURT          OF        THE       STATE             OF          NEW              YORK
                COUNTY             OF      BRONX:                    CRIMINAL               TERM:                    PART        H98
          2      -------------------------------------------X


          3     PEOPLE             OF      THE        STATE              OF        NEW      YORK


          4                                                                                                                       INDICTMENT                        NO.
                                                                                                                                  2712/06
          5                                      -    against                  -



          6      FRANK          DITOMMASO                    and         PETER             DITOMMASO,


          7                                                                                       Defendants..
                 ______________________---------------------X
          8                                                                                            265           East         161st               Street
                                                                                                       Bronx,                 New        York              10451
          9                                                                                            October                  18,        2012


         10    BEFORE:                     HONORABLE                     JOHN          W.         CARTER,


         11                              Justice                of       the        Supreme                        Court.


         12                               (Appearances                         same          as             previously                     noted.)


         13
                                                                                                                   Michael               Salvietti
         14                                                                                                        Senior             Court                Reporter


         15      -----------------------------------------------------


         16                                            (Whereupon,                         the              following                    takes              place           on       the


         17                         record             in       open           court              in          the           presence                  of       counsel               and     the


         18                         Court:)


         19                                            THE           CLRRK:                This               is         continued                    case          on      trial,


         20                 Indictment                      2712         of        2006,               in          the        matter             of         Frank          DiTommaso


         21                 and        Peter           DiTommaso.                          Please                    note         that           the          defendants                    are


         22                 present              and         all         parties                  are              present.


         23                                            Appearances,                         please.


         24                                            MS.           FLEMING:                     Good               morning,                 your            Honor           and
.                                                                                                                                                                                                  .

         25                 counsel;                 Cathy            Fleming                and              Jillian                 Searles                 for         Frank
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                                                                                 -     People                   -
                                                                   Ray                                                   Direct/Levy



          1    Aponte?


          2                 A.        Excuse                  me?


          3                 Q.        Did            there                come          a        time              you          met            with                Angelo           Aponte?
                                                                                                                                                                                                                 .-

          4                 A.        Yes.


          5                 Q.        How            did           that              come             about?


          6                 A.        It          was         in          the          course                 of          doing                 what               I     was      doing               for


          7    Interstate,                   in         the             course              of          work              looking                       at         problems,                   looking


          8    at      Johnson             Street.


          9                  Q.       By          the         way,              did         you              ever           go           to         a        Department                   of


        10     Corrections                   Christmas                          party                 with               Frank                DiTommaso?


         11                  A.       Yes.


         12                  Q.       How            did           that              come             about?


         13                  A.       Bernie                  wanted                   me        to         bring                Frank                  there.


         14                  Q.       Who            was           at         that          party?


         15                                             THE             COURT:                   We          can          get            --         Ms.            Fleming's                   quite


         16                  right,          can            we          get          dates?


         17·
                             A.       Mr.            Levy,                I     just             want               to      state,                      I'm            not      trying                to    be


         18    difficult,                  but          I     have              a      fever.


         19                                             THE             COURT:                   You          have               a       what?


         20                                             THE             WITNESS:                        Fever.


         21                                             THE             COURT:                   Fever?


         22                                             THE             WITNESS:                        Yeah.                    I       think                 I       have       the          flu.


         23                  Q.       You're                  not--



         24                                             THE             COURT:                   You're                   not            well                now?


         25                                             THE             WITNESS:                        I      think                 I        got            the         flu.
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                                                                              -        People                 -
                                                               Ray                                                     Direct/Levy



         1                                         THE           COURT:                       None                of          us       want                  to         get         the         flu.               How


         2           are        you          feeling                       now?                Let's                   take            the              jurors                  out.


         3                                          (Jurors                       exit             courtroom.)


         4                                         THE           COURT:                        Okay,                   we       certainly                               don't             want              you        be


         5           testifying                          if      you              are          not           well.


         6                                         Question                                        do        you              feel--                    I                           we're              almost
                                                                                       is,                                                                        mean,


         7           toward                the           end          of          the          day.                    Do       you              feel                 you       can          continue?


         8                                         THE           WITNESS:                             I'm              starting                         to            get       a      headache,


         9           actually.                           I'm          having                   more               difficulty                                 hearing                   Mr.        Levy.


        10                                         MR.           LEVY:                       Judge,                    just            so          you                know,            Mr.        Ray,


        11           before                we       came              up          this             afternoon,                               indicated                           he        was          not


        12           feeling                 when              will               and          he        had             a         fever.                         I     asked             him          if         he


        13           could             testify,                       he          said             he        would                   try.                    This             has         happened


        14           now,            so.


        15                                          THE          COURT:                        Okay.


        16                                          Let's                  talk              over            here.


        17                                           (Whereupon,                               the           following                             discussion                             takes              place


        18                     on      the          record,                       at         the         sidebar,                           in          the            presence                   of         the


        19                     Court              anci         counsel)


        20                                          THE           COURT:                       He's               your               witness.                               What          do      you             want


        21           to        do?


        22                                          MR.          LEVY:                       Well,                looks                 like                 it's             affecting                      his


        23           ability                 testify.                             Maybe                 we        should                    take                  a    break.


        24                                          THE           COURT:                       Looks                   that            way              to            me,       too.


        25                                          MR.           LEVY:                      He's            wiping                    his              head,                 looks             like              he's
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                                                          Ray                                                   Direct/Levy



          1          sweating                bullets.


          2                                     MR.        WICZYK:                         When             I      went              with           the           video               he      was


          3          already                sweating,                       all       comedy                     aside.


          4                                     THE        COURT:                     These                  things                   don't              get          --                      get
                                                                                                                                                                                 they


          5          worse            before             they               get       better.


          6                                     We       can           try          for             tomorrow.


          7                                     MR.        LEVY:                    Why             don't               we       try          for          tomorrow.


          8                                     THE         COURT:                       Okay.


          9                                      (Whereupon,                             the          following                         takes              place                 on     the


         10                   record            in       open               Court              in          the          presence                    of          all         parties.)


         11                                     THE         COURT:                       We're               going               to         stop           for             the        day.           Go


         12           home,           get       some            rest               and         hopefully                        we          can          resume                  tomorrow,


         13           we      hope.


         14                                     THE         WITNESS:                           All           right;                   thank              you.


         15                                      (Whereupon,                             there               was           a    pause               in          the


         16                   proceedings.)


         17                                     THE         COURT:                       You          can          get           them.


         18                                      (Whereupon,                             there               was           a    pause               in          the


         19                   proceedings.)


         20                                      COURT            OFFICER:                            Jury               entering.


         21                                      (Jurors                    entered                   the              courtroom.)


         22                                     THE         COURT:                       Okay,               everybody                        can          be         seated.


         23                                      THE        CLERK:                       Judge,                  all           jurors               are           present                    and


         24           properly                 seated,                 jurors                  present.                         Witness                    reminded                     you         are


         25           still            under            oath.
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          1                                          THE       COURT:                    We're                   going                to         stop             for            the     day.


          2          Please               don't              discuss                the                 case             amongst                   yourselves                           or          with


          3          anyone               else.                We're              going                    to       ask             you          be        back             here             tomorrow


          4   3      at      ten.                Don't              form          any                  opinions                     until               you've                heard                 all          the


          5          evidence,                       don't              research                        any         fact              or         issue                relative                      to         this


          6          case           by         any         means.                 Don't                    read            the             newspaper                        or         any          other


          7          account                   about           the         case.


          8                                          Have           a    nice                evening.


          9                                          (Jurors               exit                   courtroom.)


        10                                           THE       COURT:                    All               right,                   Mr.          Ray,             you            can         take


        11           off.


         12                                          THE       WITNESS:                                Thank             you.


         13                                           (Witness                  exits                    courtroom)


         14                                          THE       COURT:                        Maybe               we        can             use           this           opportunity                              now


         15          to      talk               about          the         emails.


         16                                          Do      you         want                to          go      out,               talk           to           him?


         17                                          THE       COURT:                    All               right.


         18                                           (Whereupon,                            there               was            a     pause                in         the


         19                  proceedings.)


         20                                          THE       COURT:                    We're                   back               on       the           record.                      Mr.              Levy,


         21          you         are            going          to        be       attempting                               to          introduce                        emails?


         22                                          MR.       LEVY:                Yes,                   Judge.                     For          all            the         reasons                      I


         23          stated                in        our       motion                   in             limine,                  we         believe                    those             emails                   can


         24          come           in          under          a        number                    of       theories.                             I'm            not         sure             what              the


         25          basis               for         the       objection                               here         is          now.               Sounds                   like             it          has
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         1      SUPREME               COURT             OF      THE          STATE             OF          NEW           YORK
                COUNTY            OF       BRONX:                    CRIMINAL                  TERM:                   PART        H98
         2      -------------------------------------------X


         3      PEOPLE             OF      THE          STATE            OF        NEW          YORK


         4                                                                                                                          INDICTMENT                            NO .
                                                                                                                                    2712/10
         5                                         -    against                -



         6      FRANK           DITOMMASO                      and       PETER                DITOMMASO,


         7                                                                                           Defendants.
                -------------------------------------------X
         8                                                                                                265          East         161st             Street
                                                                                                          Bronx,                New      York              10451
         9                                                                                                October                 19,       2012


        10     BEFORE:                     HONORABLE                     JOHN            W.          CARTER,


        11                              Justice                 of       the            Supreme                      Court.


        12                                (Appearances                         same             as          previously                      noted.)


        13
                                                                                                                     Michael              Salvietti
        14                                                                                                           Senior             Court              Reporter


        15       -----------------------------------------------------


        16                                               (Whereupon,                          the           following                     takes                 place            on        the


        17                         record                in     open           court                 in         the           presence                of          counsel                  and         the


        18                         Court:)


        19                                              THE          CLERK:                   This              is       No.       1     one          on          the        calendar,


        20                 continued                     case         on       trial,                     Indictment                     2712              of       2006,             in         the


        21                 matter             of         the         People              of          the             State         of       New            York            versus                Frank


        22                 DiTommaso                     and         Peter              DiTommaso.                              Please            note              all          parties


        23                 present,                    the      defendants                           are             present.


        24                                              Appearances.


        25                                               MS.         FLEMING:                        Good              morning,                 everyone:                           Cathy
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          1          Fleming                  and         Jillian              Searles                     on      behalf              of         Frank              DiTommaso.


          2                                         MR.          CULLETON:                    Good               morning,                   everyone:                        James


          3          Culleton                  and          Michael               Marinaccio                            on      behalf                of       Peter


          4          DiTommaso.


          5                                         MR.          LEVY:            Stuart                   Levy           for         the         People;                 good


          6          morning,                  Judge.


          7                                         MR.          WICZYK:                   Omer            Wiczyk               for         the            People;             good


          8          morning,                  everyone.


          9                                         MR.          KENNEDY:                    Peter               Kennedy                 for          the          People;                good


        10           morning.


        11                                          THE          COURT:               Okay.                  Mr.          Levy,             you            said        Mr.          Ray      is


        12           still             ill,            correct?


        13                                          MR.          LEVY:            That's                   correct,                   Judge.


         14                                         THE          COURT:               All         right.                     So       we're                going          to        bring


         15          the        jury            in,          I      will       tell            them              that,            have            them             come        in


         16          Monday.


         17                                         COURT              OFFICER:                   Jury             in?


         18                                         THE          COURT:               Yes.


         19                                         COURT              OFFICER:                   Jury             entering.


         20                                           (Jurors               entered               the            courtroom.)


         21                                         THE          CLERK:               All         jurors                  present                 and         properly


         22          seated.


         23                                         THE          COURT:               All         right,                  good           morning                   everyone.


         24          Unfortunately                               Mr.        Ray       is       still               ill.               We       had          hoped,             you


         25          know,             we       could               have,         maybe                I        could           have           told            you        yesterday
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         1          but        we       were          hoping              that             he        was              feeling                         better                    so        that           we


         2           could            move         along.


         3                                     But           anyway,                he's             still                   ill,                 so          we're                 not          going               to


         4           have        any         testimony                     today.                    So          I'm                going                to             excuse                you        for


         5           the       weekend.                      We're              going           to              ask          you             to          be             here           Monday                 at


         6           10      o'clock.


         7                                     Please                  keep         in      mind,                     I      had             told                  you          that             all          of


         8           the        Tuesdays                  would           be        off;             it          may                be       as          we             move           into


         9           November,                 I      may         be       asking               you              to          come                 in          on         Tuesday


                     afternoons                                            we       can         move                                                               --
        10                                          j ust         so                                                  this                 along                              not         next


        11           Tuesday,                you          will          still              be        off.                    I'll                 give                  you          some            notice


        12           on      that.


        13                                     Anyway,                  see         you         Monday                       at            ten.                    Don't               discuss                     the


        14           case            amongst              yourselves                       or        anyone                         else          ,      don't                    form           any


        15           opinion              until                you've            heard               all              the             evidence.


        16                                        COURT           OFFICER:                      Jurors,                             step               out.


        17                                         (Jurors              exit             courtroom.)


        18                                        THE          COURT:               All         right                     Monday,                        you              said,               will            be


        19           Catania?


        20                                     MR.             LEVY:             Yes,           then                  resume                      Larry                  Ray.


        21                                        THE          COURT:               See         you              Monday.


        22                                         (Whereupon,                      court                  is         recessed                           and             the           case


        23                   adjourned                    to      Monday,                  October                        22,              2012               at          10:00               a.m.)


        24                                         (See          next           page)


        2 5
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         1     SUPREME              COURT             OF       THE        STATE             OF         NEW           YORK
               COUNTY            OF      BRONX:                     CRIMINAL                TERM:                   PART        H98
         2     -------------------------------------------X


         3     PEOPLE            OF       THE         STATE              OF        NEW      YORK


         4                                                                                                                       INDICTMENT                         NO.
                                                                                                                                 2712/06
         5                                      -     against                  -



         6     FRANK           DITOMMASO                    and          PETER           DITOMMASO,


         7                                                                                     Defendants.
                -------------------------------------------X
         8                                                                                            265           East         161st             Street
                                                                                                      Bronx,               New        York              10451
         9                                                                                            October                  22,       2012


        10    BEFORE:                        HONORABLE                   JOHN          W.      CARTER,


        11                             Justice                 of        the        Supreme                    Court.


        12                               (Appearances                          same         as         previously                        noted.)


        13
                                                                                                               Michael                 Salvietti
        14                                                                                                     Senior                Court              Reporter


        15      -----------------------------------------------------


        16                                            (Whereupon,                        the            following                      takes                place           on      the


        17                        record              in       open            court             in         the         presence                   of         counsel               and         the


        18                        Court:)


        19                                            THE           CLERK:               Continued                         case          on        trial,                 Indictment


        20                2712          of      2006,               in     the         matter                  of       People               of         the         State           of      New


        21                York          versus              Frank              DiTommaso                       and         Peter             DiTomasso.


        22                                            Please               note          the            defendants                       are            present               and         all


        23                parties               are         present.


        24                                            Appearance.


        25                                            MS.           FLEMING:                   Good                 morning,                 your             Honor           and
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          1          counsel;                Cathy             Fleming                        and          Jillian                   Searles                    on       behalf                 of


          2          Frank         DiTommaso.


          3                                      MR.          CULLETON:                             Good             morning,                      your           Honor;                 James


          4          Culleton                   and         Michael                  Marinaccio                            appearing                        for          Peter


          5          DiTommaso.


          6                                      MR.          LEVY:                  Stuart                     Levy           for          the           People;                  good


          7          morning,                   Judge.


          8                                      MR.          WICZYK:                         Omer              Wiczyk               for           the          People;                  good


          9          morning               everyone.


         10                                       MR.         KENNEDY:                           Peter               Kennedy                  for           the          People,                     good


         11          morning.


         12                                       THE         COURT:                      I      heard               the         distressing                             news            that


         13          Mr.        Ray        is         not         here.


         14                                       MR.         LEVY:                  Mr.            Ray,             I     spoke              to          him          several                  times


         15          over         the           weekend,                  he         had            been             optimistic                           about            hopefully


         16          being            able            to      testify;                        he       does              want          to          get          this            over            with.


         17                                       He        had          some             sort             of        sinus             infection,                          still                had         a


         18          fever            on        Sunday,                  he        just             said             he        would               not          be       able            to          show


         19          up.


         20                                       He        needs             --          he's                                                                                              need            to
                                                                                                           taking                antibiotics,                              they


         21          run        their             course.                     He          seems                 to       be      confident                        he       will             be


         22          available                    by        Wednesday,                           but            he       was         not           available                       today.


         23                                       We        had          planned                    also             having                 Frank               Catania                  testify


         24           today.               Mr.             Wiczyk             has             been              in       contact                   with           him,             was


         25           texting              him,             phoning                  him,              was           not         getting                    responses,                          then
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            1          last        night                 he          got           a      text                   from              Mr.           Catania                           saying                    he         had


            2          major            complications                                        from                his          eye              surgery                        and              will           not             be


            3          available                     today                   either.


            4                                        THE              COURT:                          Are          you             sure             these                     guys                are.not


            5          gaming                you?               They               don't                     want             to         be         here                  anyway.


            6                                        MR.              LEVY:                       I     don't                 think                 anybody                         wants                    to         be         here


            7          in       terms           of             the           witnesses.                                   I        have             nothing                          to           suggest                     that


            8          they        are.                    I     can't                  say             they              are             or        they                  aren't.


            9                                        MR.              WICZYK:                           Mr.            Catania                      did                 come              in,           if         you


          10           remember,                     your               Honor.


          11                                         THE              COURT:                          He         didn't                   want               to           be        here.


...       12                                         MR.              WICZYK:                           He         came              here                  from               a      red              eye,              he         was


          13           upset            he          wasn't                   called.


          14                                         THE              COURT:                          Let's               talk                 about                what                  --          we're              going


          15           to       have           to          do         this              another                        day.                    We          have               to          continue                       this


          16           case.


          17    ]                                    Look,                   Mr.             Ray             might                 not           be          ready                  on           Wednesday.


          18           What        do          you             intend                   to            do?


          19                                         MR.              LEVY:                       Before                  we         get              to          that,                   Judge,                   we         also


          20           have        Sandya                      Tidke,                   who             is         here              in          the              Bronx                   today                   who         is          on


          21                                          --         is          in         this                                                     as          a      matter                       of          fact.                   We
                       jury        duty                                                                      building,


           22          would            be          able              to          put             her            on       the             stand.                          I        understand


           23          defense                 may             be          opposing                          her          even                 testifying,                                     but           assuming


           24          you        would               allow                  her             to         testify,                          she              could                   be          available


           25           today           if          we         could                bring                    her          out             of          jury                duty                 for           the         brief
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         1          period                 of      time            that               she         would                     have           to          testify.


         2                                         So       she           is          a     potential                              witness                       for           today.                        In


         3          terms             of         what            I'm           going              to             do         come           Wednesday,                                    I     believe                       we


         4          can         start,                 I    believe                       Larry                  Ray          will              be          ready                   or         we        will


         5          have          Tim            Woods             ready.                        So         we're                  ready               to          go          forward.                            I


         6          don't             anticipate                          any             problems                          with           any              of          the              other


         7          witnesses                      that            we          plan              on         finishing                           this                  case               with.               .I


         8          think             we         can        move               this              as         expeditiously                                        as         possible


         9           starting                    Wednesday                       with              all             these                 witnesses.


        10                                         I       think               maybe                  the          best               thing                 to          do          in           terms             of


        11          Wednesday,                          instead                  of         putting                         Mr.          Ray           on             the           stand,                   is         to


        12          put         Tim             Woods            on       the             stand                  and          then              Mr.              Ray           after                  that              to


        13          make           sure            whatever                      ailment                         Mr.          Ray          has,                  that               it         will               have


        14           run        its             course             by          the          time                 he         testifies.                                  I      would                  imagine


        15          Mr.         Woods              would                be       on         the             stand                  for          a      day,                 then               Larry               Ray


        16          maybe             Thursday                     and           Friday.                           Then               we        have               a        whole                 host             of


        17           witnesses                     we       have               scheduled                           to         start                 next                week.


        18                                         So        I     anticipate                               the             rest           of          this                 trial                 will             run


        19           smoothly,                     unless                 somebody                          else              comes                 down                with                 something.


        20                                         THE           COURT:                     Who             is          going              to          be          testifying?                                     I         say


        21           put        Tim             Woods            on       and             call              it          a     day.


        22                                         Who           else            will             be             testifying?


        23                                         MR.           LEVY:                    Tim          Woods,                      Larry               Ray,                 Sal              Fischera,


        24           Eugene                Hughes,                 Mr.           Crisalli.


        25                                         MR.           KENNEDY:                             Several                      custody                       witness                      with
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         1          period                 of      time            that               she         would                        have           to          testify.


         2                                         So       she           is          a     potential                                 witness                       for           today.                        In


         3          terms             of         what            I'm           going              to             do            come           Wednesday,                                    I     believe                       we


         4          can        start,                  I    believe                       Larry                  Ray             will              be          ready                   or         we        will


         5          have         Tim             Woods             ready.                        So         we're                     ready               to          go          forward.                            I


         6          don't             anticipate                          any             problems                             with           any              of          the              other


         7          witnesses                      that            we          plan              on         finishing                              this                  case               with.               . I


         8          think             we         can        move               this              as         expeditiously                                           as         possible


         9          starting                     Wednesday                       with              all             these                    witnesses.


        10                                         I       think               maybe                  the          best                  thing                 to          do          in           terms             of


        11          Wednesday,                         instead                   of         putting                            Mr.          Ray           on             the           stand,                   is         to


        12          put        Tim              Woods            on       the             stand                  and             then              Mr.              Ray           after                  that              to


        13          make             sure          whatever                      ailment                         Mr.             Ray          has,                  that               it         will               have


        14           run       its              course             by          the          time                 he            testifies.                                  I      would                  imagine


        15          Mr.        Woods               would                be       on         the             stand                     for          a      day,                 then               Larry               Ray


        16          maybe             Thursday                     and           Friday.                           Then                  we        have               a        whole                 host             of


        17   )      witnesses                      we       have               scheduled                              to         start                 next                week.


        18                                         So        I     anticipate                               the                rest           of          this                 trial                 will             run


        19           smoothly,                     unless                 somebody                          else                 comes                 down                with                 something.


        20                                         THE           COURT:                     Who             is             going              to          be          testifying?                                     I         say


        21          put        Tim              Woods            on       and             call              it             a     day.


        22                                         Who           else            will              be            testifying?


        23                                         MR.           LEVY:                    Tim          Woods,                         Larry               Ray,                 Sal              Fischera,


        24           Eugene                Hughes,                 Mr.           Crisalli.


        25                                         MR.           KENNEDY:                             Several                         custody                       witness                       with
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......
              1     SUPREME              COURT           OF        THE        STATE              OF         NEW           YORK
                    COUNTY            OF       BRONX:                   CRIMINAL                 TERM:                  PART         H98
              2     -------------------------------------------X


              3     PEOPLE             OF      THE        STATE              OF        NEW       YORK


              4                                                                                                                      INDICTMENT                         NO.
                                                                                                                                     2712/06
              5                                      -    against                  -



              6     FRANK           DITOMMASO                   and          PETER             DITOMMASO,


              7                                                                                       Defendants.
                    _______________________________------------X
              8                                                                                            265          East         161st              Street
                                                                                                           Bronx,               New        York              10451
              9                                                                                            October                 24,       2012


            10     BEFORE:                     HONORABLE                     JOHN          W.         CARTER,


            11                              Justice                of        the         Supreme                      Court.


             12                               (Appearances                         same          as          previously                      noted.)


             13
                                                                                                                      Michael              Salvietti
             14                                                                                                       Senior             Court               Reporter


            15       -----------------------------------------------------


             16                                            (Whereupon,                         the           following                     takes              place            on     the


             17                        record             in       open            court              in         the           presence                 of       counsel             and      the


             18                        Court:)


             19                                           THE           CLERK:                 This              is       No.        2     on         the       calender,


             20                Indictment                      2712          of        2006,               People                State           of          New        York        against


             21                Frank           DiTommase                     and         Peter               DiTommaso.


             22                                           Please                  note         that              the           defendants,                      defense


             23                attorneys,                      ADAs          are         all          present.


             24                                           Appearances.


             25                                           MS.           FLEMING:                      Cathy               Fleming                and          Jillian               Searles
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                    c-vm                                                   HUGHES                        -          PEOPLE                      -        DIRECT                           (LEVY)




               1                                       MR.           LEVY            :           Judge                ,         we         have                     Mr .            Hughe                 s - and             Sal



               2           Fichera.


..             3                                       THE           COURT:                            What                is            Fichera                                                     to          testify                    to
                                                                                                                                                                           going


               4           that         this           guy           didn't?


               5                                       MR.           LEVY:                         He          has              some                 addi.tional                                     things                    that              I



               6           need         to       elicit                   from             him,                     Judge,                      concerning                                   his                 relationship


               7           with         the          DiTommasos                            as            well                   as         the                  --         explain                          certain                    of



               8           these             documents.


                9                                       THE           COURT:                            Okay.                        I         don't                    want               any              repetition.


                                                        MR.           LEVY:                        I         will               not              be             --
              10


              11                                        THE           COURT:                            Who           else?


              12                                        MR.           LEVY:                        Well,                   Judge,                             we're                  at          a        crossroads


              13           here         because                     you          know                   Larry                   Ray                 is          still                     sick              as          far           as         I


              14           know.


              15                                          THE         COURT:                            Have               you                 talked                      to             him?                   I      mean,


              16            what's              --



              17                                          MR.         LEVY:                        I                                                            and             I         said              --
                                                                                                             did,               Judge,


              18                                          THE         COURT:                            But           what                     is             his          problem?


              19                                          MR.         LEVY:                        His              problem                              is          he         has              a        sinus


              20            infection                     plus            the             flu.                      And              according                                  to          him             the            doctor


              21            said         it's             going                 to        be            a       couple                         of             more              days                 to           run          its


               22           course.                   He           sounds                 horrible                              on             the              phone.                           I        told             him


               23           though,                  Judge,               that                 I        can               put             you                 on          the             phone                   if       you


               24           wanted              to          talk           to            him             and              to             see             --          to         judge                     for           yourself


               25           whether                  he's            telling                           the           truth                     or             not.                   He          sounds                       sick,                  you
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                   c-vm                                                          HUGHES                    -        PEOPLE                     -     DIRECT                     (LEVY)




          1                              but          --
                          know,


          2                                           MR.                  KENNEDY:                             He        said                 he         had        a      102           fever.


                                                                                                                                                                                                                    --           he
          3                                           MR.                  LEVY:                    It          sounds                    like              he       would                rather


          4               would           not         be           ready                     or          able             until                     sometime                     Friday                  at         the


           5              earliest.


           6                                          And                  here's                   the             other                 problem                    that               we         have.                    We


           7              still           have              to             deal              with               this               stuff                  with            Tim           Woods.                      And               I


           8              haven't                gotten                      a      definitive                                   answer                   yet        nor              have           I        gotten                      an


           9              affidavit                    that                  we         were               thinking                             about.
  ..

         10                                            If          I         can             make               a      suggestion?                                   We          have              these                 two


         11               witnesses.                             We          got             to          finish                    Hughes                   and            Fichera                   tomorrow.


         12               The          witnesses                           that              are           coming                       up          are          dependent                         on         Larry                Ray


         13                and         Tim       Woods                     either/or                             testifying                               because                     they're


         14                dependent,                       for              instance,                                with              respect                     to          the          emails,                      it's


         15                dependent                   on          Larry                      Ray              testifying                             concerning                             the         emails                       as


          16               to       whether                 or             not              those                things                      come             in.               With            respect                      to


          17               the         Turner               job,                  that's                       dependent                            on      what                Tim       Woods


          18               testifies                   to.                   So             we're                at          a     crossroads                              at         calling                      people


          19   .           within               the         next                  two             days                because                       we're                getting                   towards                        the


          20               end.


          21                                           So          my             suggestion                                 is         let's                 see          what              happens


          22               tomorrow                   and              I     don't                   know               how             it's              going                 to      work              out             with


          23               Tim         Woods.                    He's                   a     possibility                                    for          Friday.                       Maybe                 it          will


          24               be       Monday.                       But              at         the              very               least               we'll                be         able           to            hash


          25               that          out          and              I      know,                  Judge,                       the              defense                 is         concerned                           with
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                       c-vm                                                                 HUGHES                          -         PEOPLE                 -      DIRECT                    (LEVY)




          1                                                                       further                             into                this               whole              Tim            Woods                  --         the          Tim
                              investigating


          2                   Woods                   issue                and               I'm               trying                     to          find              out          stuff.


          3                                                     THE               COURT:                              You               put           this              allegation                              on         the


          4                   record,                    you               know,                       which                     is       commendable                                about             Tim                 Woods.                      If


          5                   I         were            his          attorney                                   or          if          you           were              his          attorney,                             would              you


           6                  put           him           on         the                   witness                          stand                   not           knowing                    any       of             the


           7                  specifies                             about                    any                of          this?


           8                                                    MR.               LEVY:                              Judge,                    I      have              been            speaking                           to


           9                  Mr.           Wiczyk.                             Mr.               Wiczyk                         has           spoken                   to      Mr.            Watters.                            We


         10                   don't                   have               all               the             information                                     yet.


         11    ,                                                    THE               COURT:                           You              don't                have              any            information.


         12        .                                                MR.               LEVY:                          Well,                what               we         do      know,                 at             least


         13                                                         to           Mr.                  Wiczyk                     is       that               with              respect                     --          the            statute
                                  according


         14                       of       limitations                                     may             have                  already                        run.            So            there              may             not          be


         15                       any          exposure.                                   But             I         don't                know               because                    we         don't                   have             all


         16                       the          indictments.                                            So            that's                    where                   we're            at         then.                        We're


         17                       trying                our              best                    to        do          it.                We're                    doing             this             as         best                 we          can.


          18                      Before                we          put               it              on        the              record,                        we're            trying                    to          get            the


          19                      information.                                        When                 it          came                   time              that           we       thought                        Tim            Woods


          20                      was          going                to           testify,                              that's                        when              we      discovered                              it.              Look,


          21                      now          it's            time                   to              make             it              clear               to          everybody                      so             we         can         nip


          22                      this            in          the              butt                   before                      it          happens.                         We       are           trying                      our


          23                      best.


          24                                                        This                    is          all            beyond                        my          control.                       The             sickness                          of


          25                      Larry                Ray,               this                   whole                  thing                      about               Tim       Woods,                    we          are             doing
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                   c-vm                                                        HUGHES                          -         PEOPLE                      -     DIRECT                       (LEVY)




          1               our        best            to           get          this                  done.                       But                 once             we          get                 these                   two


          2               issues               resolved,                            this               case                    should                      be          able                 to             move               forward


           3              towards                  its            conclusion                                   fairly                        quickly,                         I       would                       think.


           4                                              So         let's                    see           what's                           happening                            tomorrow.                                      I        will


           5              have            an       update.                          If          we             have               to           resume                       on          Monday                         instead                      of


           6              bringing                       him         back                 for          no                reason                      Friday                      since                     Larry                 Ray


           7              might              not          be         available,                                     then               we            come              back                 on             Monday                    and            we


           8              resume               from               there.                         Presumably                                     everything                                  will                  be           resolved


           9              by        then            as         far           as           I      can                tell.


         10                                               THE            COURT:                         Can                 you              tell               me          what                 can              you            do          with


         11               regard               to          this              unknown                           affidavit                                  by         this               unknown                          person?


         12    =                                           MR.           LEVY:                        Mr.                Wiczyk                      has             spoken                      to              the           attorneys


         13                for        this               person                    that               he            mentioned                                  and          they                 are               in          the


          14              process                   of         getting                        this                  affidavit,                                   so         they                 say.                     The             person


          15               that           we        were                supposed                        to               get            it           from              apparently                                       got           a


          16               little              nervous                        when               we            were               pressing                             him              for                it,            so          he         went


          17               to       the         attorney                           who           is            representing                                          him,               I        guess                    in          that


          18               bankruptcy                          litigation                               and                 so         now                they're                       dealing                           with               him


          19               and        apparently                              it          was              a        surprise                              to         them.                       They                   didn't                   know


          20               nothing                   about               this.                        So            it           sounds                        kind              of         crazy                       but           we're


          21   ,           trying               to         get           to           the             bottom                      of            this                 as                                            as          possible.
                                                                                                                                                                                 quickly


          22                                               MS.           FLEMING:                                   Judge,                      I         need              to          complete                               the


          23               record               on         something                             as                an       attorney                             and             as         an             officer                         of       the


          24               court.                    There's                       no           question                           in           my             mind              that                 if           Tim           Woods,


          25               in       connection                           with                   the                sale           of                the          company                         it              has           come              out
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           1        SUPREME                COURT             OF          THE          STATE           OF         NEW           YORK
                    COUNTY              OF       BRONX:                   CRIMINAL                    TERM:                  PART        H98
           2        -------------------------------------------X


           3        PEOPLE              OF       THE         STATE               OF         NEW       YORK


           4                                                                                                                               INDICTMENT                          NO.
                                                                                                                                           2712/06
           5                                            -    against                    -


           6
                    FRANK            DITOMMASO                      and          PETER            DITOMMASO,
           7
                                                                                                        Defendants.
           8        -------------------------------------------X
                                                                                                                265         East           161st             Street
           9                                                                                                Bronx,                   New        York              10451
                                                                                                                October                26,         2012
          10
                   BEFORE:                       HONORABLE                       JOHN            W.     CARTER,
          11
                                               Justice                   of      the         Supreme                       Court.
          12
                                                (Appearances                            same          as         previously                        noted.)
          13


          14                                                                                                               Michael               Salvietti
                                                                                                                           Senior              Court              Reporter
          15
                     -----------------------------------------------------

          16                                                   (Whereupon,                        the             following                      takes                 place         on    the


          17                             record               in         open           court              in         the           presence                 of          counsel           and    the


          18                             Court:Î


          19                                                  THE             CLERK:              This                is       No.         2    on       the             calender,


          20                    continued                     case             on       trial,                  Indictment                       2712             of       2006,          Peter


          21   '                DiTommaso                     and             Frank          DiTommaso.


          22                                                  MR.             CULLETON:                         Your           Honor--
               )

          23                                                  THE             COURT:              Appearance.


          24                                                  MR.             CULLETON:                         James               Culleton                 and           Michael


          25                    Marinaccio                         for          Peter            DiTomasso.
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           1         client                  clearly                           faces              potential                               federal                            liability.                                The


           2          immunity                     given                       in       the            grand                      jury               in          the             federal


           3         proceedings,                                    I         think,                  from              my              assessment                                 of          it         and         my


           4          evaluation                           of            it,            is           that           there                       are              still                   issues                     that           will


           5          result                 in         criminal                             liability                              for              my          client                    if          he           comes             in


           6          and           testifies,                                 most            particularly                                          in          regard                    to          the            federal


           7         matter.


           8                                            I've                   recommended                               to              him              that               he          should                  not.


           9                                            MR.              LEVY:                     We            need               more                  specifies                             with             regard                    to


          10          this            supposed                           exposure                           on       these                      federal                          matters.                            Again,


          11          the           testimony                            that                he        gave                  in          the              grand                  jury                was


          12          October                     4th           of             2007,               more              than                     five               years                   ago.                 So           there                is


          13          no       exposure                         here.


          14                                            Mr.              Watters                          has        said                     something                             about                   matters                   that


          15          he       is        not            at           liberty                         to          divulge                        to          us,              I      would                   submit,


          16          Judge,                 he         should                       divulge                       them                  to          you              so         we        can              make            an


          17          assessment                             here.                      We           believe                        there                   is           no         exposure,                              there                is


          18          no       exposure.                                 There                  is          no       valid                      basis                    for             him           to           take           the


          19          Fifth              Amendment                                  regarding                        the                 facts                   of          this               case.


.         20                                            THE              COURT:                           Irregardless                                      of           all             that,                given                the


          21          schedule                      that                 he           laid                out,               what               does                  that               do?


          22                                            MR.              LEVY:                       We'll                   put              Larry                   Ray           on,              go       forward


          23          with             our          case                 without                          Tim        Woods                      and              work               around                    it,             We'll


          24          go       forward.


          25                                            Right                       now           there                 is          no          valid                    basis                   for          him            to       take
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           1            the          Fifth               Amendment.


           2        .                                        MR.            WATTERS:                               I    disagree,                              of          course.


           3                                                 MR.            LEVY:                      Ultimately,                               you're                        the            final                arbiter,


           4            you.


           5                                                 MR.            WATTERS:                               Ultimately                              I        have              an        obligation                            to


           6            my      client                       that             I           cannot                   waive                the           confidentiality                                          of             what


           7            my      client                       tells                  me.


           8                                                 MR.            LEVY:                      Judge,                 I         submit                      he         can            waive,                   talk           to


           9            you          in           camera                    without                      endangering                                  any                confidentiality.


          10                                                 MR.            WATTERS:                               I    would                  like                 see             case              law      on             that.


          11            If      it           is         true,                 I'll                 do        it.


          12                                                 MR.            LEVY:                      They're                     has           to            be          a    valid.basis                                   shown.


          13            If      there                   is           no       valid                    basis,                 he's               got                to         take             that               stand.


          14                                                 THE            COURT:                       Well,                the             question                              is,         what               I     have              to


          15            think                about                    --      I'm             not                                  to         make                  a      decision
                                                                                                             going                                                                                          now,


          16            whether                     I        am            going                  to     order                Mr.             Watters                          to            speak            to         me


          17            in-camera,                              all           right.                         That             is          a      decision                             I'll             mull              over.


          18                                                 You            will              be         around?                          You're                         around?


          19                                                 MR.            WATTERS:                               Unfortunately,                                          Judge,                     I'm      not              going
  .

          20            on      vacation.


          21                                                 THE             COURT:                      All            right,                   you're                        plarming                       on


          22            proceeding                              with                 Larry               Ray            and             your               case?


          23                                                 MR.             LEVY:                     And             the         rest               of            the             witnesses.


          24                                                 THE             COURT:                      What                about               these                     witnesses                          you             claim


          25             couldn't                       testify                           until              Woods                 testified?
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            1         Since                 then            I     haven't                            seen                 him,                 I     don't                know             him           personally.


            2         I          just        want                to         let           you              know                   that.


            3                                           MS.            FLEMING:                                 Thank                      you            for        the            disclosure                          Judge.


            4         It's               fine.


            5                                           THE                COURT:                        All              right,                     noon.


            6                                           MS.                FLEMING:                             Do          we             have             anyone                  in         the         case           if
 .

            7         Larry                 Ray         continues                               to         be             sick?


            8                                           Do            we         have                a         Plan               B?


            9                                           THE                COURT:                        That's                        a       good              question.


          10                                            MR.                LEVY:                     Larry                  Ray.


          11                                            THE                COURT:                        Have               you                spoken                to         him            today?


          12                                            MR.                LEVY:                     Called                       him              today,                 I     got            voice           mail.


           13                                           THE                COURT:                        Voice                    mail.                     He's              out          and           about?


           14                                           MR.                LEVY:                     Doesn't                           mean               he's            out            and         about,


           15         Judge.                       I    have                 my          cell              phone,                          People                  call             me,           phone            is          in


           16          the              house,              I         don't                answer                         the              phone.                    So         I        don't             know          what


           17          the              reason              is             for           that.                        I     will                   call            him          back.                    My


           18          anticipation                                   is          he's               going                  to             be        here.                    He's             made           that


           19             clear             to         me        that              he           would                     be.                  So         that's                what              we're            going


           20             to        be      doing.


           21                                           THE                COURT:                        Well,                    if           by         chance                he's              not,         you             let


           22          us           know.


           23                                           MR.                LEVY:                     Yes.                    If            I        learn            today                 he's            not,          you


           24             will            know.


                                                        THE                COURT:                        You              will                 have              somebody                      else?
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           1                            MR.        LEVY:           Yes.


           2                            MS.          FLEMING:              Who       is     after       him?


           3                            THE          COURT:          You      all         discuss           that.


           4                            MS.          FLEMING:              Judge,           noon       on     Monday            we'll           check


           5          the    website          as      well.


           6                            (Whereupon,                  court           is     recessed                and   the           case


           7                adjourned           to      Monday,            October            29,      2012          at   12:     00       p.m.       )


            8                            (See         next        page)


            9


          10


          11


          12


          13


          14


          15


          16


          17


          18


          19


          20
 .

           21


           22


           23


           24


           25
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          1     SUPREME                COURT             OF       THE                STATE           OF      NEW             YORK
                COUNTY              OF       BRONX:                    CRIMINAL                      TERM:              PART            H98
          2     -------------------------------------------X


          3     PEOPLE              OF       THE         STATE                  OF        NEW        YORK


          4                                                                                                                             INDICTMENT                        NO.
                                                                                                                                        2712/06
          5                                         -    against                      -


          6     FRANK             DITOMMASO                    and              PETER            DITOMMASO,


          7                                                                                            Defendants.
                _________----------------------------------X
          8                                                                                                 265         East            161st               Street
                                                                                                            Bronx,              New           York               10451
          9                                                                                                 November                    1,       2012


         10    BEFORE:                        HONORABLE                         JOHN            W.     CARTER,


         11                                 Justice               of            the         Supreme                  Court.


         12                                 (Appearances                              same           as       previously                         noted.)


         13
                                                                                                                    Michael                    Salvietti
         14                                                                                                          Senior                  Court               Reporter


         15      -----------------------------------------------------


         16                                                (Whereupon,                           the          following                        takes              place           on    the


         17                          record               in      open                court            in         the         presence                      of       counsel            and       the


         18                          Court:)


         19                                              THE           CLERK:                    Matter                 of       People                of         the       State         of      New


         20                 York            against               Frank                   DiTommaso                     and         Peter              DiTommaso,                      2712       of


         21                 2006.                Counsels                       --        district                   attorneys                       and          defense              counsels


         22                 all         present                before                     the        Court.                   The            defendants                     are        excused.


         23                                               THE          COURT:                    Okay,               thanks                  everybody                    for       coming             in.


         24                 We       just           wanted                 to         get        you          all            together                  to         see       where         we      are


         25                 going,               having                  lost             now        more            time           this             week.                I'm       hoping             we
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          1                                       THE               COURT:                  You             all           can          discuss                     this             some                other


          2          time.               My           concern                     obviously                        is         to       move               this             along              as             fast


          3          as      possible.


          4                                       MR.               LEVY:                 And          mr.              Ray         will             be          here          Monday,


          5          Judge.


          6                                           THE           COURT:                  I        will               see         you         then.


          7                                       MR.               KENNEDY:                         After                Mr.          Ray,               it       will            be         --         you


          8          asked            who             else            after               Mr.          Ray.                   It       will               be       the         chain                    of


          9                                 witnesses                             for       the             hard                                     which                 should                  --             three
                     custody                                                                                                  drive,


         10          of       them,              each               should                be         relatively                             quick,                 followed                    by


         11          Mr.        Crisalli,                           who           will          be          the           longest                    of          those              types                    of


         12          witnesses.


         13                                           THE           COURT:                  Who             is          he?


         14                                           MR.           KENNEDY:                         Special                       agent             with               the        FBI             who


         15          performed                        forensic                      analysis                       on         the           hard               drive           and          retrieved


         16          the        emails                  in          question.


         17                                           THE           COURT:                  Then                 what?


         18                                           MR.           WICZYK:                     Special                       agent             D'Amico                       may        be


         19          testifying.                              We          have            Janet                  White,                who           is          coming              from


         20          Florida                to          testify.                          She          was              the         project                      manager                 for             most


         21          of       the        period                     on        the         St.          Vincent's                           Nursing                     Home          project,


         22          and        we       have                at       least               two          witnesses                            from               Turner


         23          Construction.                                    At          this          point                   we         intend                 to       call            Gerry


         24          Phillips                    --          with             a                and          Stephen                                              project                 manager
                                                                                     G,                                                Krill,


         25          and        superintendent                                      on         the          St.           Vincent's                            Nursing               Home
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                                           In       The     Matter                     Of:


                  THE    PEOPLE           OF THE                 STATE                   OF NEW            YORK   v.


                 FRANK      DiTOMMASO                       AND                  PETER           DiTOMMASO




                              ___




                                          TRIAL             TESTIMONY

                                             November                       5,     2012




                                             Valerie            E.      Monaco

                             265      East          161st        Street,               Room          264

                                      Bronx,              New          York           10451


                                                  (718)         618-1513




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       1                                       THE        COURT:               I       see          you           have             an     overcoat                  on.           You're


       2            cold.


       3                                       COURT             OFFICER:                          Witness                   entering.


       4                                       JURORS:               Good              morning,                     everyone,                     Your         Honor.


       5                                       THE        COURT:                   Good              morning,                      Mr.       Ray.        How          are         you


       6               feeling?


       7                                       THE        WITNESS:                        Good              morning.


       8                                       THE        COURT:                   A      little                  better.


       9                                       THE        WITNESS:                        Almost.


      10                                       THE        COURT:                   Almost.                        All          right.


      11                                       L     A    R      R   Y         R A           Y,         resumed                    the      witness                 stand           and


      12          having                been         called              as        a      witness                       on     behalf               of   the          People,


      13          continued                    his        testimny                     as          follows:


      14                                       COURT             CLERK:                      State                your             name          and     spell              it.


      15                                       THE        WITNESS:                        Larry               Ray,             R-A-Y.


      16                                       THE        COURT:                   All             right.                    Mr.         Levy.


      17                                       MR.        LEVY:                Thank                 you.


      18   DIRECT           EXAMINATION


      19   BY    MR.        LEVY:


      20          Q               Good         morning,                  Mr.           Ray.


      21          A               Good         morning.


      22          Q               Try      and           keep        your                voice              up,          so        everybody               can            hear.            How


      23   are    you                                today9
                              feeling


      24          A               Little             better.


      25            Q             You      feel           well           enough                    to       go          forward              today;            is         that
